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UNETED STATES DJSTRICT COURT
DlSTRlCT OF CONNECT!CUT

AGNES BUCOY-lLAGAl\E,
No. 3111-cv-00203-AWT

Plaintif‘f,
V.
GC SERVECES LENIETED PARTNERSH{P, STlPULA"l'!ON OF DESMESSAL
VVlTH PREJUDECE
Defendant.

The Plainléff and Defendant, by and through the undersigned hereby stipulate that
the above entitled action shall be dismissed With prejudice to F’laintiff on her
complaint and without costs and/or attorneys fees to any party

THE PLA|NT|FF, THE DEFENDANT,
AGNES BUCOY-ELAGAN, GC SERVlCES LIMETED

PARTNERSH|P

,The.resa Rose DeGray, Attoi® Jonathan D. Eliiot
C

 
 

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Her Attorney

